Case 1:21-cr-00148-JTN ECF No. 43, PagelD.199 Filed 03/17/22 Page1of3

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Case No. 1:21-cr-148
Vv.
HON. JANET T. NEFF
DENNIS PATRICK REID,
Defendant.
/

 

ORDER REGARDING ADDITIONAL SENTENCING CONDITIONS
MANDATORY/STANDARD CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with mandatory and standard conditions
of supervision including:
DNA collection
Drug testing
Sex offender registration

No firearms, destructive devices, or dangerous weapons

Additionally, the defendant shall comply with the following special conditions of

supervision:

1. You must participate in a sex offender assessment and/or treatment, as approved by
the probation officer, which may include physiological testing, such as polygraph,
and/or ABEL Assessment. You will contribute to the cost of treatment in an amount
approved by the probation officer and waive your right of confidentiality while
involved in treatment.

2. Your residence and employment must be pre-approved by the probation officer.

3. You must not associate or have any contact with convicted sex offenders, unless in

a therapeutic setting and with the permission of the probation officer.
Case 1:21-cr-00148-JTN ECF No. 43, PagelD.200 Filed 03/17/22 Page 2 of 3

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14.

You must not be employed in any position or participate as a volunteer in any
activity that involves contact with children under the age of 18, except as approved
by the probation officer.

You must have no contact with minors (under the age of 18) without the written
approval of the probation officer and must refrain from entering into any area where
children frequently congregate including, but not limited to parks, schools, day care
centers, theme parks, theaters, and playgrounds.

You must not associate with persons under the age of 18, except in the presence of
a responsible adult, who is aware of the nature of your background and criminal
offenses, and who has been approved in advance by the probation officer.

You must not date or socialize with anyone who has children under the age of 18
without the permission of the probation officer.

You must notify the probation officer when you establish a romantic, sexual, or
personal relationship with another individual, and then must inform the other party
of your prior criminal history concerning sex offenses. You understand that you
must notify the probation officer of that significant other's address, age, and where
the individual may be contacted.

You must not possess or publicly display any materials that may be viewed as lures
for children, including but not limited to children's games, toys, videos, or clothing
without prior approval of the probation officer.

You must not possess any materials depicting sexually explicit conduct as defined
in 18 U.S.C. § 2256(2)(A)(1)-(v), including visual, auditory, telephonic, or
electronic media, and computer programs or services. You must not patronize any
place whose primary purpose is to promote such materials or entertainment.

You must advise the probation officer of all pornographic materials, and sexual
items, or devices you own or possess and you must not own or possess any sexually
stimulating or sexually oriented material, items, or devices deemed inappropriate
by the probation officer and/or treatment staff.

You must consent to third-party disclosure to any employer or potential employer,
concerning any computer-related restrictions or community risks related to you.

You must use only those computer(s) and/or computer related device(s) approved
in advance by the probation officer.

You must provide the probation officer with all usernames, email addresses,
passwords, social media accounts, and any other forms of internet identification,
and must not create additional accounts, unless approved in advance by the
probation officer.
Case 1:21-cr-00148-JTN ECF No. 43, PagelD.201 Filed 03/17/22 Page 3of3

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15. You must not have another individual access the internet on your behalf to obtain
files or information which you are restricted from accessing yourself, or accepting
files or information from another person.

CRIMINAL MONETARY PENALTIES
IT IS FURTHER ORDERED that you must pay to the United States a special assessment
of $100.00, which shall be due immediately.
IT IS FURTHER ORDERED that you must pay a $5,000.00 special assessment pursuant
to the provisions of the Justice for Victims of Trafficking Act of 2015, which shall be due
immediately.

I have reviewed and understand the above conditions of my sentence.

Dated: March /@ , 2022 wr, a

Dennis Patrick Reid
Defe t

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Sean Tilton
Attorney for Defendant

IT IS SO ORDERED.

 

JANET T.\NEFF
nited States District Judge )
